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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   BRYAN ESTRADA,                               CV 20-01463 PA (SPx)
12                 Plaintiff,                     JUDGMENT
13          v.
14   CHEROKEE FUNDING, LLC, et al.,
15                 Defendants.
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            Pursuant to this Court’s September 23, 2020, Minute Order dismissing plaintiff Bryan
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     Estrada’s claims for lack of prosecution,
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
21
     dismissed without prejudice.
22
      DATED: September 23, 2020                    ___________________________________
23                                                            Percy Anderson
                                                     UNITED STATES DISTRICT JUDGE
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